                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 07-CR-1023-LRR
 vs.
                                                               ORDER
 ORLANDO BIRBRAGHER, et al.,
               Defendants.
                                ____________________

                                  I. INTRODUCTION
       The matter before the court is Defendant Orlando Birbragher’s “Motion for
Temporary Release to Prepare Defense Pursuant to 18 U.S.C. § 3142(i)” (“Motion”)
(docket no. 91).
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                       II. RELEVANT PRIOR PROCEEDINGS
       On March 26, 2008, Defendant filed the Motion.            On April 3, 2008, the
government filed a Resistance (docket no. 111). On April 8, 2008, Defendant filed a
Reply (docket no. 114).
       On May 5, 2008, Defendant filed an Offer of Proof (docket no. 188) in support of
his Motion. On May 12, 2008, the government filed a Response (docket no. 195) to
Defendant’s Offer of Proof. On May 13, 2008, Defendant filed a Reply (docket no. 197)
to the Response.
                                    III. ANALYSIS
       Defendant is detained in the Linn County Jail pending trial, pursuant to a detention


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          Defendant has filed many motions for release from the Linn County Jail. In a
series of orders, the court has denied all of these motions. Defendant has appealed two
orders; the Eighth Circuit Court of Appeals affirmed both of them. The court need not set
forth all of these prior proceedings in the instant Order.


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order. See Order (docket no. 48) (finding that Defendant poses a flight risk and no
condition or combination of conditions would reasonably assure his appearance for trial).
In the Motion, Defendant asks the court to release him from the Linn County Jail.
Defendant contends that he is unable to adequately prepare his defense while detained.
Defendant points out that this is an extremely complicated and document-intensive case.
Defendant also points out that the government will not permit his attorneys to remove or
photocopy some of the documents from its open discovery file; instead, Defendants’
attorneys must take notes and then physically meet with Defendant. Defendant states that
many of the documents are on compact discs (“CDs”) and need to be viewed on a
computer. Defendant represents to the court that the Linn County Jail’s administrator
permits his attorneys to bring the CDs and a computer to the Linn County Jail between the
hours of 1:00-4:30 p.m. and 6-9 p.m. each day and meet with Defendant in a conference
room. Defendant claims that “to review all this information in the [J]ail will take a
number of days, substantially increase attorney fees, and not be an efficient use of time.”
Motion at 6. In the Offer of Proof, Defendant asks the court to release him to live two
hours away in Des Moines, Iowa, where his lead counsel lives. Defendant states that he
would agree to a number of conditions upon his release, including surrendering his
Panamanian passport.
       In relevant part, 18 U.S.C. § 3142(i) provides:
              The judicial officer may . . . permit the temporary release of
              the person, in the custody of a United States marshal or
              another appropriate person, to the extent that the judicial
              officer determines such release to be necessary for preparation
              of the person’s defense . . . .

18 U.S.C. § 3142(i). For the reasons stated in the government’s Resistance and Response,
the court shall deny the Motion. The court need not restate all of these reasons here. It
suffices to say that Defendant has not shown that temporarily releasing him to live in Des


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Moines is “necessary” for the preparation of his defense. Id. The court finds that the
United States Marshal and the Linn County Jail Administrator are presently affording
Defendant more than adequate time to consult with his attorneys and the requisite means
to prepare his defense.
       It should be pointed out that, after Defendant filed the Motion, the court continued
the trial of this matter approximately three months at Defendant’s request in order to give
him more time to prepare for trial. By the time of trial, Defendant will have had more
than adequate time to prepare his defense—almost one year from the time of Indictment.
See, e.g., United States v. Persico, No. S 84 Cr. 809(JFK), 1986 WL 3793, *1-2
(S.D.N.Y. Mar. 27, 1986) (denying motion for temporary release approximately one year
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from Indictment). Presumably, Defendant is familiar with at least some of the documents
because they came from his own company.
       Defendant’s claim that he is prejudiced by the inability to remove certain documents
(“the nonremovable documents”) from the United States Attorneys’ Office wholly lacks
merit, because Defendant does not have an absolute right to personally inspect or copy
these documents before trial. See, e.g., United States v. Deering, 179 F.3d 592, 596 (8th
Cir. 1999) (holding district court did not abuse its discretion in failing to permit a
defendant the right to personally inspect the government’s “open file” and instead
permitting his counsel to do so). In any event, Defendant’s complaint about these
nonremovable documents is severely undercut by the fact that he proposes to be released
to a location two hours away from them. For the reasons stated in the court’s original
detention order, the court finds that Defendant would more likely use the opportunity for
temporary release to “fly away” than to view the nonremovable documents.


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         It is worth noting that in the early stages of this case Defendant repeatedly insisted
that he be tried as soon as possible. He insisted he would be ready for trial on the
originally scheduled trial date in January of 2008.

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                                  IV. CONCLUSION
      The Motion (docket no. 91) is DENIED. The period between the filing of the
Motion and this Order is excluded from calculation under the Speedy Trial Act. 18 U.S.C.
§ 3161(h)(1)(F) (excluding delay resulting from the filing of any pretrial motion through
the prompt disposition of the motion); 18 U.S.C. § 3161(h)(1)(J) (excluding “delay
reasonably attributable to any period, not to exceed thirty days, during which any
proceeding concerning the defendant is actually under advisement by the court”).
      IT IS SO ORDERED.
      DATED this 28th day of May, 2008.




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